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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                              ROANOKE DIVISION

LEAH WYNETTE WILLIAMS,                 )
and                                    )
PHYLLIS ANN WILLIAMS,                  )
                                       )
      Plaintiffs,                      )
                                       )
v.                                     )                         7:17CV446
                                                Civil Action No. _____________
                                       )
LISA ANNETTE LIPSCOMB,                 )
JAMES AYERS,                           )
and                                    )
PLATINUM CORRAL, LLC,                  )
                                       )        JURY TRIAL DEMANDED
      Defendants.                      )

                    COMPLAINT FOR MONETARY DAMAGES

      Leah Wynette Williams and Phyllis Ann Williams file this action under

Virginia state law and 42 U.S.C. §§ 2000a and 1981 as the statutory vehicles to

vindicate their rights, including their rights under the U.S. Constitution.

                         PRELIMINARY STATEMENT

                                           1.

      This is a classic but unfortunate example of the racism that still lives in our

communities. The Williams family is African American. On August 27, 2017, her

10-year-old daughter’s birthday, Leah Williams (“Leah”) allowed her daughter

to choose any restaurant to celebrate her birthday. She chose the Golden Corral


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Restaurant located at 1441 Towne Square Blvd NW, Roanoke, VA 24012 (the

“Restaurant”). What a mistake. Upon entering, the Williams family was met with

immediate hostility—staff shouting at the family and refusing to let them sit

where they wanted. The Williams family were the only African American

customers in their section, and all other customers were white.

                                          2.

      Half-way through their meal, this hostility took an uglier turn, and their

server, Lisa Lipscomb—a notorious racist—accused the Williams family of

stealing food by allegedly stuffing food (chicken legs, as Lipscomb later told the

police) in the purse of Phyllis Williams (“Phyllis”). This was a lie, and Lipscomb

knew it was a lie. After adamantly denying the accusations, the family was

approached by the manager, James Ayers, who told them they were accused of

stealing food and attempted to look in Phyllis’s purse. Aghast and disturbed,

Leah and Phyllis told Ayers he had no right to look in her purse, and Ayers

responded by telling the family he would just look at the video footage and call

the police. In fear for her family’s lives and safety, Leah called the police herself

to report what was happening. Meanwhile, Lipscomb and two white men at the

table nearby gleefully jeered the Williams family.




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                                          3.

          Ayers returned, and Leah immediately asked what the video showed.

Ayers refused to answer that question. But, instead of apologizing for falsely

accusing the Williams’ family of stealing, Ayers made up a new reason to kick

the Williams family out: he told Leah that she and her family were trespassing.

Leah insisted on waiting for the police before leaving, so her family, and Ayers,

did just that. The female police officer arrived, and repeatedly requested to see

the subject video, and each time Ayers told her: no. With no evidence upon

which to charge any members of the Williams family with theft, Ayers insisted

that the grandmother, Phyllis, be barred from the Restaurant for life. Thus the

officer provided Phyllis with a trespass warrant but there was an odd twist: the

location from which Phyllis is currently barred is her own P.O. Box address. (See

Ex. 1.)

                                          4.

          Leah posted her experience on social media and people responded quickly,

identifying Lipscomb and explaining that Lipscomb had a long history of being a

dogged bigot, and racist. The Restaurant owner, Platinum Corral, apologized for

the incident, taking full responsibility for the mistreatment of the Williams

family. Meanwhile, Platinum’s employee, Lipscomb, also reached out to the



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Williams family, Lipscomb telling Leah, “U have done enough, I will have UR

ass.” The next day, Leah was granted an emergency protection order from

Lipscomb, who continues to be employed by Platinum Corral.

                         JURISDICTION AND VENUE

                                         5.

      Jurisdiction is proper under 28 U.S.C. § 1331 and 1343(a)(4), as well as

under 42 U.S.C. § 1983. And Venue is proper under 28 U.S.C. § 1391(b) and on

the supplemental jurisdiction of this Court to adjudicate claims arising under

state law pursuant to 28 U.S.C. § 1367(a).

                                  THE PARTIES

      A. Leah Wynette Williams, Plaintiff

                                         6.

      Leah Wynette Williams is a resident of Virginia and competent to stand

trial to defend all claims she has made against these Defendants. At the time of

the filing of this Complaint, Leah is currently employed. Leah is African

American.




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      B. Phyllis Ann Williams, Plaintiff

                                          7.

      Phyllis Ann Williams is a resident of Virginia and competent to stand trial

to defend all claims she has made against these Defendants. At the time of the

filing of this Complaint, Phyllis is 73 years old and retired. Phyllis is African

American.

      C. Lisa Annette Lipscomb, Defendant

                                          8.

      At all times relevant, Lisa Annette Lipscomb was a server at the Golden

Corral Restaurant located at 1441 Towne Square Blvd NW, Roanoke, VA 24012

and an employee of Platinum Corral, LLC, a franchisee of Golden Corral

Franchising Systems, Inc. Lisa Lipscomb is white. Lipscomb has a criminal

history that includes convictions for resisting arrest and obstructing a law

enforcement officer.

      D. James “Jimmy” Ayers, Defendant

                                          9.

      At all times relevant, James Ayers was the General Manager of the Golden

Corral Restaurant located at 1441 Towne Square Blvd NW, Roanoke, VA 24012

and an employee of Platinum Corral, LLC, a franchisee of Golden Corral



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Franchising Systems, Inc. At all times relevant, Ayers was the supervisor of

Defendant Lipscomb and the primary decision maker at the Restaurant who

hired and continued to employ Defendant Lipscomb. James Ayers is white.

      E. Platinum Corral, LLC, Defendant

                                       10.

      At all times relevant, Platinum Corral, LLC, was a North Carolina

company engaged in the restaurant business in Virginia that owned and

operated the Restaurant, a place of public accommodation within the meaning of

42 U.S.C. § 2000a. At all times relevant, Platinum Corral, LLC was a franchisee of

Golden Corral Franchising Systems, Inc.

      Platinum Corral, LLC hired Defendant Ayers as the General Manager of

the Restaurant and hired Defendant Lipscomb as a server. At all times relevant,

Platinum Corral, LLC had an obligation under contract to ensure the general

managers of its Golden Corral restaurants operating under the ownership of

Platinum Corral, LLC were adequately trained and aware of all laws regarding

civil rights violations at places of public accommodation. All eight (8) members

of Platinum Corral, LLC’s executive team are white.

      Platinum Corral, LLC has its principal place of business located at 195

Holt-Garrison Pkwy, Danville, VA 24540 and may be served at the address of its



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registered agent, CT Corporation System, located at 4701 Cox Road, Suite 285,

Glen Allen, VA 23060.

                               RELEVANT FACTS

   A. Phyllis Williams’s granddaughter’s “birthday dinner” at Golden Corral

                                        11.

      On August 27, 2017, Phyllis Williams went to the Restaurant with her

daughter, Leah Williams, her granddaughter (Leah’s daughter), and her

grandson (Leah’s son) (collectively, the “Williams family”).

                                        12.

      The Williams family chose to go to the Restaurant because it was Leah’s

daughter’s 10th birthday, and Leah let her daughter choose a restaurant. The

birthday girl chose Golden Corral.

                                        13.

       The Williams family arrived at the Restaurant at approximately 7:50 p.m.

                                        14.

      Upon entering, the Williams family walked to the entrance counter where

drink orders are placed before sitting at a table; the Williams family was not

greeted by the person who does drinks with a hello or a smile, but rather, the




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family was shouted at by an employee who shouted, “What do you want to

drink?”

                                        15.

      After ordering their drinks, the Williams family proceeded to a table in

Leah’s daughter’s favorite section, but they were informed that the section was

closed. The Williams family then proceeded to another table. Two white men

were seated at the table behind them.

                                        16.

      Nearly every customer in the Restaurant at the time the Williams family

was in the Restaurant was white.

                                        17.

      The Williams family constituted the only African Americans present on the

side of the Restaurant where they were seated.

                                        18.

      Plaintiffs went to the dinner buffet and paid the fixed price for all four

members of the Williams family.

                                        19.

      While eating dinner, Leah and Phyllis noticed their server, Defendant Lisa

Lipscomb, continuously sweeping the floor around the Williams family’s table.



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                                        20.

        When the two children returned to the table with their desserts, Lipscomb

walked up to the table and said, “I want to warn you there are cameras, and if

you are taking food, you need to put it back on the table.” Lipscomb then walked

away.

                                        21.

        Leah and Phyllis were baffled by Lipscomb’s statements because at no

time did they or the children “take” or attempt to “take” any food from the

Restaurant.

                                        22.

        Lipscomb returned to the table with Defendant Jimmy Ayers, the General

Manager, who told the Williams family that there is a $3 charge for take-out food

and that Lipscomb informed him that she saw Phyllis putting food in her purse.

                                        23.

        At no time did any member of the Williams family put any food in

Phyllis’s purse.




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                                         24.

       Ayers told Leah and Phyllis that he would be searching Phyllis’s purse,

 and they refused, telling Ayers that he had no good reason to search her purse,

 and that he was embarrassing the family for no good reason.

                                         25.

       Ayers told Leah and Phyllis that he would simply check the footage on his

 surveillance cameras, and that he would also call the police. Ayers then walked

 away from the table.

                                         26.

       When Ayers left the table, Leah and Phyllis felt afraid for the children and

 themselves, so Leah called the police at approximately 8:29 p.m. to report that

 the Williams family was being harassed and falsely accused at the Restaurant.

                                         27.

       At approximately the same time, Phyllis began filming the event with a

 smartphone.

                                         28.

       As they sat waiting for the police to arrive, Leah, Phyllis, and the children

 observed Lipscomb speaking with the two white men at the table behind them

 and observed them looking over at the Williams family, laughing.



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                                        29.

         Leah observed Lipscomb apologize to the two white men. On information

 and belief, Lipscomb told the two white men that Leah and Phyllis were taking

 food.

                                        30.

         When Ayers returned, Leah asked Ayers if he had reviewed the video

 surveillance and Ayers refused to answer that question, i.e., Ayers refused to

 confirm that he had seen Phyllis place any food in her purse on the alleged video

 surveillance cameras.

                                        31.

         No video surveillance that Ayers reviewed showed any member of the

 Williams family placing any food in Phyllis’s purse.

                                        32.

         No video surveillance that Ayers reviewed showed any member of the

 Williams family placing any food in Leah’s purse.

                                        33.

         No video surveillance that Ayers reviewed showed any member of the

 Williams family serving themselves with large quantities of food (including

 chicken) at the food counters.



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                                        34.

       Ayers reviewed the subject video and saw that the video did not show any

 member of the Williams family putting any food items in Phyllis’s purse.

                                        35.

       Ayers reviewed the subject video and saw that the video did not show any

 member of the Williams family serving themselves with large quantities of

 chicken.

                                        36.

       Ayers and Lipscomb accused Phyllis of placing numerous chicken legs in

 her purse.

                                        37.

       Ayers and Lipscomb accused Leah of placing chicken legs in her purse.

                                        38.

       After refusing to admit that the subject video surveillance cameras did not

 show any member of the Williams family stealing any food, Ayers informed the

 Williams family that they were trespassing and thus they had to leave the

 Restaurant.




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                                          39.

       After Ayers told the Williams family that they were trespassing, Leah told

 Ayers that they would not be leaving until the police arrived, and Ayers

 permitted the Williams family to stay until the police arrived.

                                          40.

       When the police arrived, the responding officer, Officer Fleichman,

 confirmed with Leah that she was responding to Leah’s 911 call.

                                          41.

       Officer Fleichman informed the Williams family that Ayers still wanted the

 Williams family to leave after they had been asked to leave the Restaurant and

 that Phyllis was being barred from the property for the rest of her life.

                                          42.

       As the Williams family was leaving, Officer Fleichman gave Phyllis a piece

 of paper to sign entitled “Trespass Bar Letter,” purporting to indicate that Phyllis

 Ann Williams was barred from the Restaurant. In the section of the letter asking

 to “Briefly describe act(s) here”, the box “Owner/Mgr. Request” was ticked;

 neither the box for “Shoplifting” nor the box for “Trespassing” were ticked.




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                                         43.

       The Trespass Notice that Officer Fleichman filled out and gave to Phyllis

 states that the address of the property from which that Phyllis is allegedly barred

 is actually Phyllis’s own P.O. Box address—not the address of the Restaurant.

                                         44.

       Prior Lipscomb and Ayers accusing the Williams family of theft, Leah and

 Phyllis Williams had already paid for their meal.

    B. The aftermath and Platinum Corral’s Facebook apology

                                         45.

       On August 28, 2017, Leah posted on Facebook video, showing a portion of

 the subject incident as recorded by Phyllis on a smartphone.

                                         46.

       On August 28, 2017, Leah also posted on Facebook a detailed description

 of the incident, to which many people responded in outrage at the way the

 Williams family was treated.

                                         47.

       On August 28, 2017, Leah filed a formal complaint with the Better Business

 Bureau describing the incident in detail.




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                                        48.

       A few days after the incident was made public and shared on Facebook

 nearly 4,000 times, Platinum Corral responded to Leah’s Facebook post.

                                        49.

       Platinum Corral responded to Leah’s Facebook post, stating:

       After evaluating all of the details, we would like to extend a heartfelt
       apology to Leah and her family for their experience dining with us
       yesterday evening. We recognize the situation was not handled properly
       and we are taking the appropriate steps internally to assess what we could
       have done differently while also implementing additional training for our
       employees. The well-being and respect for our guests and employees are
       always top priorities for us, and we are working diligently to make this
       right. Leah, we have sent you an email requesting the opportunity to speak
       with you directly to offer our apologies. – Platinum Corral, a franchise of
       Golden Corral.

                                        50.

       Despite the apology, Lipscomb has not been disciplined for her conduct.

                                        51.

       Despite the apology, Ayers has not been disciplined for his subject

 conduct; in fact, Platinum Corral claimed Ayers had been put on administrative

 leave, when in fact, he was simply moved to a different Golden Corral

 restaurant.




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    C. Lisa Lipscomb, a known racist, continues to harass the Williams family
       to the point that an Emergency Protective Order has been issued against
       Lipscomb.

                                        52.

       People who responded to Leah’s Facebook post about the subject incident,

 discussed Lipscomb storied community reputation as a racist.

                                        53.

       Lipscomb is well known in the Roanoke community as a racist who

 regularly uses the “N” word to refer to African Americans, according to some.

                                        54.

       Lipscomb has an extensive criminal history to include charges filed and

 arrests for: Driving While Intoxicated (2013); Intentional Property Damage

 (2012); Abusive, Profane, and Threatening Phone Calls (2012); Simple Assault

 Against a Family Member (2011); Driving Under a Suspended/Revoked License

 (2005); Contempt (2004); Driving Under the Influence (2004); Driving Under the

 Influence (2003); Assault and Battery Against a Law Enforcement Officer (2000);

 Phone Threats (1998); Resisting Arrest (1995); Impaired Driving (1995); Filing a

 False Police Report (1994); No Shelter for a Dog (1993); Phone Threats (1993);

 Driving While Intoxicated (1993); and Assault and Battery (1988).




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                                         55.

       On September 9, 2017, Leah received a message on Facebook from Lisa

 Lipscomb, stating: “U have done enough, I will have UR ass.” Lipscomb then

 accused Leah of lying in her Facebook post about the incident and accused Leah,

 Phyllis, and the children of stealing from the Restaurant.

                                         56.

       On September 10, 2017, Leah filed a criminal complaint in the city of

 Salem, VA against Lipscomb describing the messaging she received from

 Lipscomb, stating that she feared for the life and safety of herself and her family,

 and requesting that Lipscomb not be allowed to continue to direct threats at the

 Williams family.

                                         57.

       Later that day, September 10, 2017, a judge issued an Emergency

 Protective Order directing Lipscomb that she shall not commit acts of violence,

 force, or threat or criminal offenses resulting in injury to person or property and

 that in order to protect the safety of Leah and her family Lipscomb shall have no

 contact of any kind with Leah Williams, under no exceptions. The order further

 provided that Lipscomb was prohibited under the order from being in the

 physical presence of Leah Williams.



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                                          58.

       At all relevant times, Defendants had a written policy that no one entering

 the subject Golden Corral would be discriminated upon based on race, and thus

 all customers would enjoy equal treatment.

                                      COUNT I

       VIOLATION OF PLAINTIFFS’ RIGHTS UNDER 42 U.S.C. § 2000a
                       (Against All Defendants)

                                          59.

       Plaintiffs fully incorporate paragraphs 1 through 58, and any paragraph this

 Court deems relevant, as full stated herein to support this Count.

                                          60.

       The Restaurant at all times relevant has been a place of public

 accommodation within the meaning of 42 U.S.C. § 2000a. Based on the

 incorporated facts to support his Count, at least part of the motivation for the

 above-described conduct by Defendants Ayers and Lipscomb was Plaintiffs’ and

 their accompanying family’s race. The above-described conduct violates 42

 U.S.C. § 2000a, which prohibits discrimination in places of public

 accommodation on account of race. Because Ayers and Lipscomb were

 employees and agents of Platinum Corral, LLC at the time of the above-described

 conduct, Platinum Corral, LLC is liable for the conduct of Ayers and Lipscomb.


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                                           61.

       Defendants are liable to Plaintiffs for all permissible damages as well as

 attorney’s fees and cost of bringing this litigation.

                                      COUNT II

            VIOLATION OF PLAINTIFFS’ RIGHTS TO CONTRACT
                        UNDER 42 U.S.C. § 1981
                         (Against All Defendants)

                                           62.

       Plaintiffs fully incorporate paragraphs 1 through 58, and any paragraph this

 Court deems relevant, as full stated herein to support this Count.

                                           63.

       At the time that Lipscomb and Ayers began wrongfully accusing the

 Williams family of theft based on their race, Leah and Phyllis Williams had

 already paid for their meal and had a contractual interest in dining at Golden

 Corral and enjoying the benefits of that interest in the same ways that other,

 white customers were permitted to enjoy those benefits.

                                           64.

       Among the benefits in which Leah and Phyllis Williams had a contractual

 interest while dining at Golden Corral, like white customers, were the benefits of

 eating their meals with Leah’s children in peace (i) without being racially



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 discriminated against and harassed at least in part because they are African

 American; (ii) without the wait staff knowingly and wrongfully accusing them of

 theft at least in part because they are African American; (iii) without the

 management knowingly and wrongfully accusing them of theft at least in part

 because they are African American; (iv) without the management calling the

 police on them and falsely accusing them of theft at least in part because they are

 African American; and (v) without being forced to leave the Restaurant during

 their meal after the wait staff and the management knowingly and wrongfully

 accused them of theft at least in part because they are African American.

                                          65.

       Based on the incorporated facts to support this Count, and because Leah

 and Phyllis Williams had a contractual interest in dining at Golden Corral and

 enjoying the benefits of that interest in the same ways that other, white

 customers were permitted to enjoy those benefits, and because Defendants

 interfered with that right on account of Plaintiffs’ race as African Americans,

 Defendants violated Plaintiffs’ rights under 42 U.S.C. § 1981. Plaintiffs suffered

 loss of sleep and feelings of racial stigmatization, and continue to suffer, and will

 in the future suffer from feelings of racial stigmatization—all as a result of

 Defendants’ conduct.



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                                           66.

       As such, Defendants are liable to Plaintiffs for all permissible damages as

 well as attorney’s fees and cost of bringing this litigation.

                                      COUNT III

                               NEGLIGENT HIRING
                          (Against Defendant Platinum Corral)

                                           67.

       Plaintiffs fully incorporate paragraphs 1 through 58, and any paragraph this

 Court deems relevant, as full stated herein to support this Count.

                                           68.

       Based on the incorporated facts to support this Count, by hiring Lipscomb,

 Defendant Platinum Corral was negligent because a reasonable investigation

 would have shown that Lipscomb had a criminal history and a reputation for

 being an extreme racist and because of the circumstances of employment—in

 which Lipscomb, as a restaurant server, would be a public face of Platinum

 Corral and be required to interact with customers of all races and ethnicities—it

 should have been foreseeable to Platinum Corral that Lipscomb posed a threat of

 injury to non-white customers.




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                                           69.

       As such, Defendant is liable to Plaintiffs for all permissible damages as

 well as attorney’s fees and cost of bringing this litigation.

                                      COUNT IV

                             NEGLIGENT RETENTION
                          (Against Defendant Platinum Corral)

                                           70.

       Plaintiffs fully incorporate paragraphs 1 through 58, and any paragraph this

 Court deems relevant, as full stated herein to support this Count.

                                           71.

       Based on the incorporated facts to support this Count, by continuing to

 employ Lipscomb for many months after hiring her, Defendant Platinum Corral

 was negligent because based on Lipscomb’s criminal history and regular use of

 racial slurs, including calling African Americans the “N” word, Platinum Corral

 knew or should have known that Lipscomb was dangerous and likely to cause

 injury to the non-white customers of the Restaurant.

                                           72.

       As such, Defendant is liable to Plaintiffs for all permissible damages as

 well as attorney’s fees and cost of bringing this litigation.




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                                     COUNT V

          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                  (Against Defendants Lipscomb and Ayers)

                                          73.

       Plaintiffs fully incorporate paragraphs 1 through 58, and any paragraph this

 Court deems relevant, as full stated herein to support this Count.

                                          74.

       By (i) accusing Phyllis and Leah of stealing food with zero evidence to

 support the accusation, (ii) telling her supervisor Defendant Ayers the same, and

 (iii) telling the police the knowingly false statement that Phyllis and Leah were

 stealing food, Defendant Lipscomb intentionally sought to embarrass, humiliate,

 and put fear in the Williams family, including the children. As a result of

 Lipscomb’s conduct, Phyllis suffered severe emotional distress such as loss of

 sleep and persistent headaches. As a result of Lipscomb’s conduct, Leah suffered

 severe emotional distress such as loss of sleep and persistent headaches.

                                          75.

       By (i) accusing Phyllis and Leah of stealing food after Lipscomb told him

 the same without taking further steps to confirm the truth of Lipscomb’s

 assertion, (ii) continuing to accuse Phyllis and Leah of stealing food after

 claiming to have video to prove the same, but in fact knowing that he had zero


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 evidence to support the accusation, (iii) telling the police in a 911 call and in

 person the knowingly false statement that Phyllis and Leah were stealing food,

 and (iv) despite knowing that Phyllis and Leah were innocent of any

 wrongdoing, seeking a Trespass Bar Letter from Officer Fleichman against

 Phyllis, Ayers intentionally sought to embarrass, humiliate, and put fear in the

 Williams family, including the children. As a result of Ayers’s conduct, Phyllis

 suffered severe emotional distress such as loss of sleep and persistent headaches.

 As a result of Ayers’s conduct, Leah suffered severe emotional distress such as

 loss of sleep and persistent headaches.

                                           76.

       As such, Defendants Lipscomb and Ayers are liable to Plaintiffs for all

 permissible damages as well as attorney’s fees and cost of bringing this litigation.

                                      COUNT VI

                       RESPONDEAT SUPERIOR
           INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                    (Against Defendant Platinum Corral)

                                           77.

       Plaintiffs fully incorporate paragraphs 1 through 58 and 74 through 76, and

 any paragraph this Court deems relevant, as full stated herein to support this Count.




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                                           78.

       Because Defendants Ayers and Lipscomb were employed by Platinum

 Corral at the time they engaged in deliberate, racially discriminatory conduct

 against Plaintiffs constituting the tort of intentional infliction of emotional

 distress, Platinum Corral is liable to Plaintiffs for the acts of its employees.

                                           79.

       As such, Defendant is liable to Plaintiffs for all permissible damages as

 well as attorney’s fees and cost of bringing this litigation.

                                      COUNT VII

                              DEFAMATION PER SE
                       (Against Defendants Lipscomb and Ayers)

                                           80.

       Plaintiffs fully incorporate paragraphs 1 through 58, and any paragraph this

 Court deems relevant, as full stated herein to support this Count.

                                           81.

       By verbally communicating to Ayers, the two white men sitting at the table

 near Phyllis and Leah, Officer Fleichman, and other third parties in the

 Restaurant the false statement that Phyllis and Leah were stealing chicken,

 Lipscomb imputed to Leah and Phyllis the crime of theft, a crime of moral

 turpitude. These communications thereby defamed Phyllis and Leah, and


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 Lipscomb is liable to Phyllis and Leah for these defamatory statements under

 Virginia law.

                                           82.

       By verbally communicating to Officer Fleichman the false statement that

 Phyllis and Leah were stealing chicken, and communicating this statement Ayers

 imputed to Leah and Phyllis the crime of theft, a crime of moral turpitude. These

 communications thereby defamed Phyllis and Leah, and Ayers is liable to Phyllis

 and Leah for these defamatory statements under Virginia law.

                                           83.

       As such, Defendants are liable to Plaintiffs for all permissible damages as

 well as attorney’s fees and cost of bringing this litigation.

                                     COUNT VIII

                             RESPONDEAT SUPERIOR
                               DEFAMATION PER SE
                          (Against Defendant Platinum Corral)

                                           84.

       Plaintiffs fully incorporate paragraphs 1 through 58 and 80 through 83, and

 any paragraph this Court deems relevant, as full stated herein to support this Count.




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                                           85.

        Because Defendants Ayers and Lipscomb were employed by Platinum

 Corral at the time they defamed Plaintiffs, Platinum Corral is liable to Plaintiffs

 for the acts of its employees.

                                           86.

        As such, Defendant is liable to Plaintiffs for all permissible damages as

 well as attorney’s fees and cost of bringing this litigation.

                                      COUNT IX

                               NEGLIGENCE PER SE
                        (Against Defendants Ayers and Lipscomb)

                                           87.

        Plaintiffs fully incorporate paragraphs 1 through 58, and any paragraph this

 Court deems relevant, as full stated herein to support this Count.


                                           88.

        Defendants had a duty not to make knowingly false statements to law

 enforcement accusing Plaintiffs of a crime, and this duty arises out of Virginia

 Code 18.2-461 - Falsely summoning or giving false reports to law-enforcement

 officials.




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                                           89.

       Because Ayers called the police and made statements to the police on that

 phone call that Ayers knew to be false, statements that falsely alleged that Phyllis

 and Leah were stealing food, Ayers breached the duty to not to make knowingly

 false statements to law enforcement accusing Plaintiffs of a crime. Because Ayers

 made statements to Officer Fleichman that Ayers knew to be false, statements

 that falsely alleged that Phyllis and Leah were stealing chicken, Ayers again

 breached that duty. Plaintiffs suffered public humiliation and other damages as a

 result of Ayers’s breach.

                                           90.

       Because Lipscomb made statements to Officer Fleichman that Lipscomb

 knew to be false, statements that falsely alleged that Phyllis and Leah were

 stealing chicken, Lipscomb breached the duty to not to make knowingly false

 statements to law enforcement accusing Plaintiffs of a crime. Plaintiffs suffered

 public humiliation and other damages as a result of Lipscomb’s breach.

                                           91.

       As such, Defendants are liable to Plaintiffs for all permissible damages as

 well as attorney’s fees and cost of bringing this litigation.




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                                       COUNT X

                             RESPONDEAT SUPERIOR
                               NEGLIGENCE PER SE
                          (Against Defendant Platinum Corral)

                                           92.

       Plaintiffs fully incorporate paragraphs 1 through 58 and 87 through 91, and

 any paragraph this Court deems relevant, as full stated herein to support this Count.


                                           93.

       Because Defendants Ayers and Lipscomb were employed by Platinum

 Corral at the time they made false statements to the police that constituted

 negligence per se to Plaintiffs, Platinum Corral is liable to Plaintiffs for the acts of

 its employees.

                                           94.

       As such, Defendant is liable to Plaintiffs for all permissible damages as

 well as attorney’s fees and cost of bringing this litigation.




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                                       COUNT XI

                                PUNITIVE DAMAGES
                                (Against all Defendants)

       Based on the facts alleged in this Complaint, Plaintiffs are entitled to

 punitive damages, under all applicable laws, because Defendants acted with a

 willful and conscience indifference to the laws that protect Plaintiffs’

 Constitutional rights.

                                      COUNT XII

                                   ATTORNEY FEES

       Based on the facts alleged in this Complaint, Plaintiffs are entitled to

 attorney fees, under all applicable laws.

       WHEREFORE, Plaintiffs pray for a trial by jury of twelve and judgment

 against Defendants as follows:

       (a) That process issue and service be had on each Defendant;

       (b) That Plaintiffs be awarded all other expenses in an amount to be

          determined at trial, including attorney fees;

       (c) That Plaintiffs recover all costs of this litigation;

       (d) That a jury trial be had on all issues so triable;

       (e) Plaintiffs have Judgment against Defendants for punitive damages; and




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       (f) That Plaintiffs receive such other and further relief as this Court deems

          just and proper.

       Respectfully submitted on this 26th day of September, 2017,


                                              s/Mario B. Williams
                                              Mario B. Williams (VSB # 91955)
 NEXUS CARIDADES ATTORNEYS, INC.
 44 Broad St. NW, Suite 200
 Atlanta, GA 30303
 404-654-0288/703-935-2453 FAX
 mwilliams@nexuscaridades.com
 mario@goodgeorgialawyer.com




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